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                                  IN THE UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF TEXAS
                                                DALLAS DIVISION

DOROTHY McCASKILL


                  Plaintiff
                                                                    CIVIL ACTION NO.:


SKYLINE POST ACUTE LLC, D/B/A
FT. WORTH WELLNESS &
REHABILITATION
                  Defendant


                                      PLAINTIFF'S ORIGINAL COMPLAINT
         COMES NOW Dorothy McCaskill, Plaintiff herein, and complains of Defendant Skyline Post Acute LLC

  d/b/a Ft. Worth Wellness & Rehabilitation in this action and for cause of action would respectfully show the

  following:

                                           JURISDICTION AND VENUE
         This action alleges violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000-e, et seq., and in

  violation of the Age Discrimination in Employment Act of 1967, 29 U.S.C. 621. eti and Jurisdiction is founded on

  42 U.S.C. 2000-e, et seq., 28 U.S.C. § § 1331, 1343 (1)(2)(3)(4). Venue is proper in the Northern District of Texas,

  Dallas Division, pursuant to 28 U.S.C. § 1391 because the claims arose in this district.

                                                       PARTIES
          1)    Plaintiff, D orothy McCaskill, is anindividualresiding in Tarrant County, Texas.

  At all times relevant hereto, Plaintiff was employed by Defendant, Skyline Post Acute LLC, d/b/a/ Ft. Worth

  Wellness & Rehabilitation located at 2129 Skyline Dr., Fort Worth, Texas 76114. Plaintiff has been subjected to

  unlawful employment practices committed in the State of Texas by employees, agents and/or representatives of the

  Defendant.
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1)          Defendant, Skyline Post Acute LLC, d/b/a/ Ft. Worth Wellness & Rehabilitation is a corporation


       and employer within the meaning of Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000-e and


       the Age Discrimination in Employment Act of 1967, 29 U.S.C. 621, et seq., and is doing business in the


        State of Texas. Defendant may be served with process by delivering the summons to its registered agent,


        VCorp Services LLC, 1999 Bryan St., Suite 900, Dallas, Texas 75201.




                                       PROCEDURAL REQUIREMENTS



 3)     Plaintiff has timely filed charges ofreligion, national origin, race and age discrimination with the EEOC,

 alleging violation of Title VII of the Civil Rights Acts of 1964, as amended, 42 U.S.C.A., 2000-e et seq .and the Age

 Discrimination in Employment Act of 1967, 29 U.S.C. 621.et seq. Plaintiff has complied with all administrative

 requirements for perfecting her Charge. On February 27, 2019, the EEOC issued Plaintiff a Notice ofRight to Sue

 and Plaintiff filed this complaint within 90 days from receipt of such notice. The EEOC Charge and Right to Sue letter

 are attached hereto and incorporated herein by reference, as Exhibit A and Exhibit B, respectively.



                                              FACTUAL SUMMARY

      4)   Beginning on or about October 1, 2018 and continuing through December 17, 2018 Plaintiff was repeatedly

subjected discrimination based on her race, black and age, 75 years old. On December 17, 2018 Plaintifrs employment

with Defendant as Activity Director was terminated based on her race and age. During October 2018 through December

17, 2018, Cory Judge. Plaintifrs manager, Cory Judge and other managers made derogatory comments to and about

Plaintiff regarding her age and regarding another older black employee, Amos Matsele, who was 67 years old and also

gave preferential treatment regarding terms and conditions of employment to younger white employees. Defendant hired
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and replaced Plaintiff with a white worker, approximately 30 years old. Plaintiff was subjected to derogatory

and harassing comments and statements regarding when she planned to retire. In addition,

Plaintiff was formally disciplined and/or written up for alleged dress code violations,

when younger and/or white employees that violated the dress code were not formally disciplined

and/or written up.




      5)        Defendant knew or should have known about Cory Judge's and other managers'

 discriminatory conduct in giving preferential treatment to white, younger employees and in

 making derogatory comments regarding Plaintiff and other older, black employees.

      6) On December 17, 2018, Plaintiffs employment with Defendant was terminated during

 based on her age and race.

      7) Plaintiffs position was filled with a white male, approximately 37 years old.




                                    CAUSES OF ACTION

        8) The Plaintiff herein reaffirms and reaffirms each and every assertion set forth in

   this Complaint and further claims that:

           9) Plaintiff was subjected to race and age discrimination, and his employment was

  terminated by the Defendant based on her age and race.

       10)     Within 300 days of the acts of which she complains, Plaintiff filed Charge of

   Discrimination with the Equal Employment Opportunity Commission (EEOC). Any

  allegations in this action which pertain to events prior to 300 days before the EEOC Charges
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      pertain to the allegations ofcontinuing violation.

        11)       This suit is timely filed in accordance therewith.

        12)       Defendant is-the direct cause of Plaintiffs injuries including, but not limited

       compensatory and punitive damages, attorney's fees, pre-judgment and post-judgment interest

       and any other such other and further relief, at law or in equity, as the Court deems necessary and

       proper.




                               COURT COSTS AND ATTORNEY'S FEES
            13)    The Plaintiff herein reaffirms and alleges each and every assertion set forth in the

                   complaint and further claims that:

            14)    As a result of Defendant's wrongful conduct, Plaintiff was compelled to retain

Brenda J. Williams, Attorney to represent her herein the matter. Pursuant to 42 U.S.C Section

1988, and the considerations related to punitive damages, Plaintiff seeks his reasonable and

necessary attorney's fees and court costs.

                                             JURY DEMAND

        15)       Plaintiff demands atrial by jury in each and every issue of fact raised by

petition.

                                                 PRAYER
        16)         WHEREFORE, Plaintiff prays for judgment against Defendant for compensatory,

punitive and general damages, back pay, front pay, reinstatement and declaratory and injunctive

relief, attorneys' fees, costs and interest and such other and further general relief in law or equity to

which Plaintiff may be reasonably entitled.
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                                     Respectfully submitted,




                                      Brenda J. Williams
                                      State Bar No. 21515300
                                      Bank of America, Oak Cliff Tower
                                      400 South Zang Blvd., Suite 1200
                                      Dallas, Texas 75208
                                      (214) 946-0865(tel)
                                      (214) 948-3038(fax)
                                      bwil liam s@bj william slaw.com
                                      ATTORNEY FOR PLAINTIFF
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                EXHIBIT A
                   Case 3:19-cv-01276-L Document 1 Filed 05/29/19                                                      Page 7 of 9 PageID Exhibit
                                                                                                                                          7       A
EEOC Fonn 5 (11109)

                      CHARGE OF DISCRIMINATION                                                         Charge Presented To:                         Agency(ies) Charge No(s):
            Tllls fonn 18 affected br the Privacy Act of 187◄. Sae encb5ed P1tvacv Ad
                    Stalelllenl 811d other lnfom'lallan balbre complellng thla form.                         □ FEPA
                                                                                                            [!) EEOC                                   846-2019-09322
                                            Texas Workforce Commission Civil Rights Division                                                                         and EEOC
                                                                        ~ or local Anencv, I( any

Name~ Mr., Ml., IIIS.J                                                                                                 Home Phone (Ind. Alea Cod!,)               OmolBllttl
Ms. Dorothy S. Mccaskill-Mitchell                                                                                         (817) 419-7128                             1943
Street Address                                                                 City, Slate and ZIP Code
6805 Towerwood Rd Dr, Arlington, TX 76001

Named Is lhe Employer, Labor Organlr.aUon, Employment Agency, ApprenCJcashlp Corrmittee, or Stale or Local Government Agency That I Believe
Ollcrimlnated Against Me or Others. (ffmon, lhsn two, list under PARTICULARS below.)
Name                                                                                                                   No.Emp.-,,.....,..             Phone No. (tnclvde Ama Cada)

FORT WORTH WELLNESS AND REHAB                                                                                              101 -200
Stnlel Addraa                                                                  City, S?ale and ZIP Code

2129 Skyline Dr, Fort Worth, TX 76114

Name                                                                                                                   No. E...,.,,,._, ,.....,_.     Phane No. (lnr.lvdt, Ame Code)



SlnlttAddreas                                                                  City, State and ZIP Code




DISCRIMINATION BASED ON (Check app,opriala bOJl(ttaJ.1                                                                          DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                          Eaillest                    Lalest
  [ ] ] RACE          □     COLOR          □ SEX              □       RELIGION      □        NATIONAL ORIGIN                        12-17-2018                  12-17-2018
       □       RETALIATION        [ ] ] AGE        □       DISABILITY          □         GENETIC INFORMATION

                 □     OTl-fER (Specllyl                                                                                                  □         CONTINUING ACTION

THE PARTICUlARS ARE '"addillonal pap« Is needlrd, attach em Jheel(.s)):
  I.          PERSONAL HARM:
  A.          I have been issued discipline on December 7, 2018 and on December 17, 2018.
  B.          I have been subjected to hara&ament and unfair b'eatmont in that when I received corrective
  action memo for dress code violation while other employee was complimented on their attire while
  being out of dress code.
  C.      Jwas tenninated on December 17, 2018
  II.     RESPONDENTS REASON FOR ADVERSE ACTION:
  No reason given
  Ill.    DISCRIMINATION STATEMENT:
  I believe that I was discriminated against because of my Race (Black)ln violation of Title VII of the
  Civil Rights Act of 1964, as amended. I believe that I was discriminated against because of my age,
  76, in violation of the Age Discrimination in Employment Act of 1967.

I want this chalie filed with both the EEOC and ltla State or loc:al Agency. II any. I       NOTARY - W7len necessa,y lot S.te e,,ct l.ocal Agency Requlremenlt
will advlsa the agencies If I change my addl9SS or phone mmber and I wll
cooperate fully with 1hem In the procaulng of my charue In aa:untllll'ICII with lhak'
procedures.                                                                                 I swear or affinn lhat I have read the above charge and that I ls lnle to
l declare under penalty of perjury that the above Is bue and comtd.                         the best al my llnowledge, lnknmalion and belief.
                                                                                             SIGNATURE OF C®Pl.AINANT




     Feb261 2019
            Date
                             PJf-~                                                           SUBSCRIBED ANO SWORN TO BEFORE PtETHIS DATE
                                                                                             (JIIOfllh, def. ,,....,
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               EXHIBITB
                     Case 3:19-cv-01276-L
EEOC F01m 161 (1 1/16)                      Document
                                   U.S. EQUAL        1 Filed
                                              EMPLOYMENT     05/29/19COMMISSION
                                                         OPPORTUNITY    Page 9 of 9 PageID 9Exhibit B

                                                  DISMISSAL AND NOTICE OF RIGHTS
To:    Dorothy S. McCaskill-Mitchell                                                   From:    Dallas District Office
       6805 Towerwood Rd Dr                                                                     207 S. Houston St.
       Arlington, TX 76001                                                                      3rd Floor
                                                                                                Dallas, TX 75202



       D                     On behalf of pe~on(s) eggritJved whose identity is
                             CONFIDENTIAL (29 CFR §1601. 7(a)J
EEOC Charge No.                                 EEOC Representative                                                      Telephone No.

                                                 Terance B. Hobbs,
846-2019-09322                                   Investigator                                                            (214) 253-2758
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       D         The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

       D          Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

       D          The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

       D          Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                  discrimination to file your charge
       [KJ        The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                  information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                  the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
       D          The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

       D          Other (briefly state)



                                                          - NOTICE OF SUIT RIGHTS -
                                                    (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years CJ years)
before you file suit may not be collectible.

                                                                      On behalf of the Commission


 Enclosures(s)
                                                           L                           --~-                               ;)!;).7//~
                                                               uB•ll•d~lli•t•'~                                                 {Date Mailed)
                                                                     District Director
 cc:
             Alicia Young
             Human Resources Manager
             FORT WORTH WELLNESS AND REHAB
             2129 Skyline Dr.
             Fort Worth, TX 76114
